                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION
                         Civil Action No.: 03:11-CV-00381


LATINO COMMUNICATIONS, LLC,

                  Plaintiff,

       v.

NORSAN CONSULTING AND
MANAGEMENT, INC.,                                  DEFENDANT’S BRIEF IN SUPPORT
                                                       OF MOTION TO DISMISS
                  Defendant and
                  Counterclaim Plaintiff,

       v.


LATINO COMMUNICATIONS, LLC.

                  Counterclaim Defendant.



       Plaintiff Latino Communications, LLC (“Latino”) attempts to bring claims for tortious

interference and unfair trade practices against defendant Norsan Management, Inc. (“Norsan”)

on the theory that Norsan hired former employees of Latino who were subject to covenants not to

compete. However, the covenants not to compete, which are attached to Latino’s Complaint, are

facially invalid under North Carolina law. In addition, Latino admits Norsan hired and employed

these persons for the lawful motive of “advancing its own interest,” which constitutes protected

competitive behavior under North Carolina law. Moreover, Latino conspicuously fails to allege

that Norsan knew any of the employees were subject to covenants not to compete at the time

they were hired; instead it merely alleges that once informed of the existence of the covenants,

Norsan “took no action to prevent the [employees’] contract breach” – implying that Norsan had

a duty to fire the employees. Each of these deficiencies furnishes a separate and independent



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basis for dismissal. Accordingly, the Complaint fails to state any cognizable claim for relief

under applicable law. Norsan has therefore moved under Rule 12(b)(6) for entry of an order

dismissing all of the claims asserted by Latino and offers this brief in support.

                          I. ALLEGATIONS OF THE COMPLAINT

       The Complaint alleges1 that Latino is a North Carolina Limited Liability Company that

publishes and distributes Que Pasa, a Spanish language newspaper in Charlotte. (Compl. ¶ 1).

Defendant Norsan or a related entity publishes a competing Spanish language newspaper called

Hola Noticias. (Compl. ¶ 2). Non-parties Carol Romero (“Romero”), Iliana Pauly (“Pauly”),

and Rodrigo Martinez (“Martinez”) were employees or independent contractors for Latino, and

each individually decided to leave Latino’s employ. (Compl. ¶¶ 8, 11, 13). Martinez resigned in

October, 2010 (Compl. ¶ 8), and Pauly and Romero did not resign until May, 2011 (Compl. ¶¶

12, 13). The Complaint further alleges that, while employed by Latino, each of the employees

signed substantially identical agreements with provisions purporting to be covenants not to

compete (the “Restrictive Covenants”), and summarily alleges that such agreements are valid

and enforceable. (Compl. ¶ 5, 15). Martinez, Pauly and Romero are now employees of Norsan.

(Compl. ¶¶ 8, 12, 13).

       However, the Complaint does not allege the following:

           •   That Latino and Norsan have any agreement among themselves with respect to
               hiring employees or competing in the marketplace;
           •   That Norsan recruited any of the employees;
           •   That the employees left Latino at the same time due to an effort by Norsan to raid
               Latino’s workforce;
           •   That Norsan was aware of the existence of the purported non-competes;
           •   That Norsan colluded with the employees to harm Latino;

1
 For purposes of this motion only, Defendant assumes the truth of the factual allegations in the
Complaint.



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            •   That Norsan deceived, dissembled, misrepresented, or took any covert action with
                respect to its hiring of these employees;
            •   That Norsan’s hiring of the employees resulted in Norsan obtaining business from
                any customer of Latino with whom Norsan was not already doing business.

Instead, the Complaint admits that at least one of Norsan’s purposes in hiring the former

employees was “advancing [Norsan’s] own interest[s],” (Compl. ¶ 17), which justifies Norsan’s

actions as a matter of law. (See infra at 7.) Nonetheless, Latino attempts to assert tortious

interference and unfair trade practice claims against Norsan. Apparently, Latino’s position is

that, once put on notice of the purported restrictive covenants, Norsan should have fired all three

employees. The law of North Carolina imposes no such duty on Norsan.

                                         II. ARGUMENT

       Latino’s claims cannot be sustained and therefore must be dismissed for two separate and

independent reasons. First, the covenants not to compete attached to the Complaint are invalid

on their face, so as a matter of law the covenants cannot be the basis for a tortious interference

claim or an unfair trade practice claim. Second, the Complaint admits, on its face, that Norsan

had a valid purpose for hiring employees of Latino. This admission confirms that Norsan’s

actions were privileged or justified because it is a competitor of Latino – and that its actions thus

cannot be a basis for tortious interference.

       A.       The Restrictive Covenants are invalid; therefore Norsan could not have
                committed tortious interference.

       Latino’s claims rely entirely on a flawed allegation ― that the “restrictive covenant

agreements executed by [the employees] constitute valid enforceable contracts that are

reasonably necessary to protect the legitimate business interests of Latino.” (Compl. ¶ 15). To

allege a tortious interference claim, the plaintiff must prove the existence of “a valid contract




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between plaintiff and a third person which confers upon the plaintiff a contractual right…” Beck

v. City of Durham, 154 N.C. App. 221, 232, 573 S.E.2d 183, 191 (2002) (emphasis added).

       Each of the Restrictive Covenants provides in relevant part that an employee:

               …for a period of twelve months after his/her employment with the
               Employer is terminated....will not, whether as a principal or as
               agent, officer, director, employee, consultant, or otherwise, alone
               or in association with any other person, firm, corporation, or other
               business organization, carry on or be engaged, concerned or take
               part in, or render services to, or own any interest or share in the
               earnings of or invest in the stock, bonds or other securities of any
               person, firm, corporation or other business organization which is
               engaged in the business conducted by the Employer within a radius
               of [50 or 25 miles] of any office of the Employer to which the
               Employee was assigned.”

See Martinez Restrictive Covenant, ¶ V.A. (Exh. A to Compl., emphasis added).

       In addition, for the same twelve-month period, the Restrictive Covenants purport to

prohibit an employee from providing “services that are competitive with the services offered by

Employer to any customer the Employer has done business with during the twelve months

preceding the termination of Employee’s employment.” This second restriction purports to apply

“regardless of geographic location.” Id. ¶ V.B.

       These two provisions are the foundation of Latino’s Complaint, but under long-standing

North Carolina law, each provision is invalid and unenforceable. Deprived of its foundation, the

Complaint thus fails to state a claim.

       1. A flat prohibition on employment by competitor is unenforceable under VisionAIR. To

start, the first provision quoted above purports to prohibit Latino’s former employees from being

associated in any way whatsoever with any company that is “engaged in the business conducted

by” Latino. In VisionAIR, Inc. v. James, 167 N.C. App. 504, 509, 606 S.E.2d 359, 363 (2004),

the North Carolina Court of Appeals invalidated a materially identical provision. As the Court of

Appeals immediately recognized, such a provision “would prevent [a former employee] from



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engaging in . . . work unrelated to that which he did for [the former employer].” Id. (emphasis

added). Under VisionAIR, the analysis is open and shut, and needs no further elaboration. On its

face, the covenant is invalid.

       It bears noting that the covenant cannot be “cured” by being judicially rewritten. As the

Fourth Circuit Court of Appeals has observed, “North Carolina has a very strict rule regarding

blue penciling,” which is the practice of judicially amending non-compete contracts to make

them enforceable. Broadway v. Seymour, Inc. v. Wyatt, 1991 U.S. App. LEXIS 21736, *5 (4th

Cir. 1991) (unpublished). “A court at most may choose not to enforce a distinctly separable part

of a covenant in order to render the provision reasonable.” Hartman v. W.H. Odell & Assoc.,

Inc., 117 N.C. App. 307, 317-18, 450 S.E.2d 912, 920 (1994) (emphasis added). In other words,

a court may cross out terms that already exist. It “may not resurrect, in whole cloth, a covenant

not to compete by erasing and replacing offending, but key, portions of a contract.” Professional

Liability Consultants v. Todd, 122 N.C. App. 212, 221, 468 S.E.2d 578, 584, reversed and

adopting reasoning of dissent, 345 N.C. 176, 478 S.E.2d 201 (1996) (emphasis added); Welcome

Wagon Int’l, Inc. v. Pender, 255 N.C. 244, 248, 120 S.E.2d 739, 742 (1961) (in North Carolina,

“[t]he court is without power to vary or reform the contract by reducing either the territory or the

time covered by the restrictions”); Noe v. McDevitt, 228 N.C. 242, 45 S.E.2d 121 (1947)

(refusing to blue pencil covenant territory in order to make the territory reasonable in scope).

       Here, “no amount of blue penciling could have addressed the breadth” of the covenant

because no words could be struck from the non-nompete that would cure its defect.                  See

Technology Partners, Inc. v. Hart, 298 Fed. Appx. 238, 244 (4th Cir. 2008); Whittaker General

Medical Corp. v. Daniel, 324 N.C. 523, 528, 379 S.E.2d 824, 828 (1989) (“The courts will not

rewrite a [noncompetition] contract if it is too broad but will simply not enforce it”); Henley




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Paper Co. v. McAllister, 253 N.C. 529, 535, 117 S.E.2d 431, 434-35 (1960) (noting that in North

Carolina, courts may not blue pencil covenants, but that they “must stand or fall integrally”)

       2.   The overbroad provision prohibiting contact with customers with whom former

employee had no interaction is unenforceable. The second provision quoted above purports to

prohibit former employees of Latino from “provid[ing] services that are competitive with the

services offered by [Latino] to any customer [Latino] has done business with during the twelve

months preceding the termination of Employee’s employment” “regardless of geographic

location.” (Exh. A to Complaint, ¶ V.B) (emphasis added). This provision is invalid because its

applicability is not restricted to customers with whom the former employer actually had

interaction or contacts.

       It is black letter law in North Carolina that “a client-based limitation cannot extend

beyond contacts made during the period of the employee’s employment.” Farr Assocs., Inc. v.

Baskin, 138 N.C. App. 276, 278, 530 S.E.2d 878, 880 (2000) (invalidating non-compete

provision that prohibits contact with any “current client or customer of the Company” or persons

who were clients “during the two (2) year period immediately preceding the termination date”);

MJM Investigations, Inc. v. Sjostedt, 2010 N.C. App. LEXIS 1280, at *9-10 (reversing

preliminary injunction when the “agreement clearly extends the non-solicitation clause to

cover…[clients] with which Defendants had never made contact.”); Medical Staffing Network,

Inc. v. Ridgway, 194 N.C. App. 649, 657, 670 S.E.2d 321, 328 (2009) (reversing trial court’s

enforcement of non-compete that prohibits employee from “soliciting the business of any [client]

which . . . includes clients . . . with whom [employee] would not have had contact.”);

CNC/Access, Inc. v. Scruggs, 2006 NCBC 20, ¶ 37 (2006) (granting summary judgment in favor

of defendant when 180-day covenant “restrict[ed] the former CNC employees from providing




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services to any client, regardless of whether the employee actually provided services to that

client during their time at CNC.”) (emphasis in original). Thus, pursuant to long-standing, well-

established North Carolina law, the second provision is also invalid and unenforceable.2

       Because Norsan’s tortious interference with contract claim relies upon an invalid,

unenforceable contract, it cannot be sustained and must be dismissed. See Beck, supra (tortious

interference claim requires “valid” contract).

       B.      The Complaint admits that Norsan’s alleged interference was “justified or
               privileged,” which furnishes a separate and independent basis for dismissal of
               Latino’s claim.

       Latino admits in its Complaint that at least one of Norsan’s purposes in hiring the former

employees was “advancing [Norsan’s] own interest[s].” (Compl. ¶ 17). This admission negates

Latino’s tortious interference claim by acknowledging that Norsan acted with a proper,

competitive purpose as a matter of law. The doctrine of privilege or justification therefore

protects Norsan’s decisions to hire and retain the former employees, and provides a separate and

independent basis for immediate dismissal of Latino’s claims.

       As the North Carolina Court of Appeals has explained, “[a] motion under Rule 12(b)(6)

should be granted when the complaint reveals that the interference was justified or privileged.”

Peoples Sec. Life Ins. Co. v. Hooks, 322 N.C. 216, 221, 367 S.E.2d 647, 650 (1988).

Specifically, “[n]umerous authorities have recognized that competition in business constitutes

justifiable interference in another’s business relations and is not actionable so long as it is carried

on in furtherance of one’s own interests and by means that are lawful.” Id. (emphasis added). It

is thus fatal to Latino’s claim that at least one of Norsan’s purposes in hiring Latino’s former

employees was alleged to be “advancing [Norsan’s] own interest.” (Compl. ¶ 17, emphasis
2
 For the same reasons set forth above, blue-penciling is not available to modify these provisions,
which therefore fail in their entirety. See, e.g. Whittaker General, supra.




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added). That allegation alone is sufficient to render Latino’s claim “not actionable.” See Hooks,

322 N.C. at 221, 367 S.E.2d at 650.

       Here, Hooks is directly on point and requires dismissal of the Complaint. In Hooks, the

defendant offered jobs to nineteen employees of the plaintiff, each of whom had executed a non-

compete agreement. Id. at 218, 367 S.E.2d at 648. Moreover, the defendant in Hooks had

“personal knowledge of the contractual relationship” ― enforceable non-competition clauses ―

between the employees and plaintiffs. Id. at 219, 367 S.E.2d at 649. Nevertheless, observing

that the purpose of the hiring was to develop a particular sales territory for the new employer, the

Court refused to recognize the plaintiff’s claim for tortious interference with contract. Id. at 223,

367 S.E.2d at 651. The Court reasoned that the defendant’s conduct could not support a cause of

action unless “defendant’s only motive is a malicious wish to injure the plaintiff…” Id. at 221,

367 S.E.2d at 650 (emphasis added).

       Thus, even if Latino had alleged (which it did not) that Norsan actively recruited Latino’s

employees, and even if Latino could demonstrate (which it cannot) the existence of a valid non-

compete, “the mere enticement and hiring of an at-will employee by a competing company,

absent an improper motive, does not give rise to a tortious interference with a contract claim.”

Combs & Assoc. v. Kennedy, 147 N.C. App. 362, 371, 555 S.E.2d 634, 641 (2001); See also

Hooks, 322 N.C. at 222, 367 S.E.2d at 651 (“[t]he free enterprise system demands that

competing employers be allowed to vie for the services of the ‘best and brightest’ employees

without fear of subsequent litigation for tortious interference.”); Embree Constr. Group, Inc. v.

Rafcor, Inc., 330 N.C. 487, 498, 411 S.E.2d 916, 924 (1992) (“Generally speaking, interference

with contract is justified if it is motivated by a legitimate business purpose, as when the plaintiff

and the defendant, an outsider, are competitors.”)




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       Accordingly, Latino’s claim for tortious interference with contract is properly dismissed.

See Privette v. University of North Carolina, 96 N.C. App. 124, 134-135, 385 S.E.2d 185, 191

(1989) (dismissing tortious interference claim when “complaint on its face admits that

[defendants] had a proper motive for their actions”).

       C.      Latino’s unfair trade practices claim should also be dismissed.

       Latino’s claim pursuant to the North Carolina Unfair and Deceptive Trade Practices Act

(“UDTPA”) fails for the same reasons as its tortious interference claim. The UDTPA declares

unlawful “[u]nfair methods of competition in or affecting commerce, and unfair or deceptive acts

or practices in or affecting commerce.” N.C. Gen. Stat. § 75-1.1 (a). “The determination as to

whether an act is unfair or deceptive is a question of law for the court.” Business Cabling, Inc. v.

Yokeley, 182 N.C. App. 657, 663 (2007) citing Dalton v. Camp, 353 N.C. 647, 656-57, 548

S.E.2d 704, 711 (2001) (internal citations and quotation omitted). Latino fails to allege that

Norsan engaged in any unfair or deceptive trade practice.

       “A practice is unfair if it is unethical or unscrupulous, and it is deceptive if it has a

tendency to deceive…. Moreover, some type of egregious or aggravating circumstances must be

alleged and proved before the Act's provisions may take effect.” Id. (emphasis in original).

Latino has alleged no deception or misrepresentation by Norsan. Any “unfair” activity arises

solely out of the same facts that are alleged to give rise to the tortious interference claim.

However, as set forth above, no valid contract or covenant prohibited Norsan or any of the

employees it hired from competing in the Spanish Language newspaper market. Further, even if

such covenants were valid, there is no allegation Norsan knew of them at the time of hiring.

Finally, even if Norsan knew about valid non-competes that may affect new employees, Norsan




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enjoys a privilege to hire employees to compete in the marketplace for its own benefit. (See

supra, section II.A. and II.B.).

        Thus, because Latino’s UDTPA claim rests entirely on the allegation of tortious

interference with contract, the UDTPA claim must also be dismissed. Combs & Assoc. v.

Kennedy, 147 N.C. App. 362, 374, 555 S.E.2d 634, 642 (2001) (dismissing unfair and deceptive

trade practices claim when “plaintiff’s claim that defendants engaged in unfair and deceptive

trade practices rests with its [other claims] . . . [and] [h]aving determined that the trial court

properly granted summary judgment on each of these claims, we likewise conclude that no claim

for unfair and deceptive trade practices exists”).

                                         CONCLUSION

        For these reasons, Norsan requests that the Court dismiss Latino’s Complaint in its

entirety.

This 2nd day of September, 2011.
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                                CERTIFICATE OF SERVICE


       I hereby certify that I electronically filed the foregoing with the Clerk of the Court using

the CM/ECF system which sent notification of such filing to the following:


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       This 2nd day of September, 2011.




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